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9
                               UNITED STATES DISTRICT COURT
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                           SOUTHERN DISTRICT OF CALIFORNIA
11
      QUIDEL CORPORATION, a Delaware           CASE NO.       '16CV3059 BTM AGS
12    corporation,
13                Plaintiff,
                                               COMPLAINT FOR:
14       v.
                                               1. LANHAM ACT FALSE
15    SIEMENS MEDICAL SOLUTIONS                   ADVERTISING;
      USA, INC., a Delaware corporation, and
16    DOES 1-50 INCLUSIVE,                     2. STATUTORY UNFAIR
                                                  COMPETITION AND FALSE
17                                                ADVERTISING;
                  Defendants.
18                                             3. INTENTIONAL INTERFERENCE
                                                  WITH PROSPECTIVE
19                                                ECONOMIC ADVANTAGE; AND
20                                             4. NEGLIGENT INTERFERENCE
                                                  WITH PROSPECTIVE
21                                                ECONOMIC ADVANTAGE
22                                             JURY TRIAL DEMANDED
23
                                               Filing Date:
24                                             Trial:
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28



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1                                     JURY TRIAL DEMAND
2            1.     Plaintiff Quidel Corporation ("Quidel" or "Plaintiff") hereby demands a
3     jury trial.
4                                             PARTIES
5            2.     Quidel is a Delaware corporation with its principal place of business in
6     San Diego, California.
7            3.     Defendant Siemens Medical Solutions USA, Inc. ("Siemens" or
8     "Defendant") is a Delaware corporation with its principal place of business in Malvern,
9     Pennsylvania.
10           4.     The true names and capacities, whether individual, corporate, association,
11    or otherwise of Defendants named herein as DOES 1 through 50 are unknown to
12    Plaintiff who therefore sues said Defendants by such fictitious names. Plaintiff will
13    seek leave to amend this Complaint to allege their true names and capacities when the
14    same have been ascertained.
15           5.     Plaintiff is informed and believes, and on that basis alleges, that each of
16    the fictitiously named Defendants and/or their agents and employees are responsible in
17    some manner for the events and happenings alleged in this Complaint, and proximately
18    caused Plaintiff's damages.
19           6.     At all times herein mentioned, upon information and belief, Defendants
20    were the agents, servants and/or employees of the Defendants, and Defendants' acts
21    shall mean that Defendants did the acts alleged through their officers, directors,
22    managers, agents, representatives and/or employees while they were acting within the
23    course and scope of said agency, authority and employment.
24                                        JURISDICTION
25           7.     This is a civil action for false advertising under the Lanham Act (15
26    U.S.C. § 1125(a)); unfair competition and false advertising under California Business
27    and Professions Code sections 17200 and 17500; and intentional and negligent
28    interference with prospective economic advantage under California law.

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1            8.     This Court has subject matter jurisdiction over Plaintiff's claims for
2     violation of the Lanham Act pursuant to 15 U.S.C. § 1125; and 28 U.S.C. §§ 1331 and
3     1338(a). This Court has original and/or supplemental jurisdiction over Plaintiff's state
4     law claims pursuant to 28 U.S.C. §§ 1338(b) and 1367(a), because the state law claims
5     are joined with substantial and related claims under the Lanham Act.
6            9.     Personal jurisdiction over Defendants is proper because they are
7     marketing products to customers in this District and State, and Plaintiff is informed
8     and believes, and thereon alleges, that Defendants have distributed the subject products
9     in this District and State.
10           10.    Venue is proper in this District and before this Court pursuant to 28
11    U.S.C. § 1391(b).
12                                  FACTUAL ALLEGATIONS
13           11.    Plaintiff is a diagnostic healthcare manufacturer with core competencies
14    and capabilities including immunoassay development, automated manufacturing,
15    monoclonal antibody characterization and development, and molecular assay
16    development.
17           12.    Plaintiff developed, promotes and sells the Thyretain TSI Reporter
18    BioAssay ("Thyretain"). Thyretain is intended for the qualitative detection in serum of
19    thyroid-stimulating immunoglobins ("TSI"). The detection of TSI, in conjunction with
20    other clinical and laboratory findings, may be useful as an aid in the differential
21    diagnosis of patients with Graves’ disease (GD). Thyretain is the only commercially
22    available assay that detects TSI only, as opposed to both thyroid-stimulating and
23    thyroid-blocking immunoglobins.
24           13.    Defendant is a healthcare company that specializes in medical imaging,
25    laboratory diagnostics, and healthcare information technology. Defendant developed,
26    promotes and sells the IMMULITE 2000/2000 XPi TSI assay ("IMMULITE Assay"),
27    a product intended to compete with Thyretain.
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1           14.    Defendant has advertised the IMMULITE Assay on its website, in press
2     releases and in other marketing materials as detecting TSI only, but has failed to
3     disclose that the IMMULITE Assay also detects thyroid-blocking antibodies.
4     Specifically, and without limitation, Defendant has made and disseminated the
5     following statements:
6                  A. "The IMMULITE 2000/2000 XPi TSI assay detects only thyroid
7                       stimulating antibodies."
8                  B. "Unlike other currently available diagnostic tests, the IMMULITE
9                       2000/2000 XPi TSI assay detects the presence of thyroid stimulating
10                      antibodies only, making the differential diagnosis of GD faster and
11                      more accurate."
12                 C. "TSHR autoantibody (TRAb) assays do not distinguish between TSI
13                      and TBI. The IMMULITE 2000 TSI assay utilizes recombinant
14                      human TSH receptors (hTSHR) for the specific detection of thyroid
15                      stimulating autoantibodies."
16          15.    Plaintiff is informed and believes, and on that basis alleges, that credible
17    scientific data has found that, contrary to the representations made by Defendant, the
18    IMMULITE Assay detects both stimulating and blocking antibodies, not TSI only.
19    The statements made by Defendant about the IMMULITE Assay are therefore false
20    and misleading.
21          16.    Plaintiff is further informed and believes and on that basis alleges that
22    Defendant's false and misleading statements are creating confusion in the marketplace
23    concerning the IMMULITE Assay's ability to specifically identify TSI and, as a result,
24    will lead to false positives and the misdiagnosis and mistreatment of patients,
25    including, for example, potential unnecessary surgery to remove all or part of a
26    patient's thyroid (thyroidectomy or subtotal thyroidectomy).
27          17.    Plaintiff is further informed and believes and on that basis alleges that
28    Defendants' marketing/advertising of the IMMULITE Assay as detecting TSI only

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1     may lead to reimbursement that should be reserved for TSI only assays because true
2     TSI only assays are reimbursed at higher rates than assays that detect both stimulating
3     and blocking antibodies like the IMMULITE Assay. As a result, payers will pay
4     higher costs for the IMMULITE Assay than they should for an assay that detects both
5     stimulating and blocking antibodies.
6           18.    Plaintiff is informed and believes and on that basis alleges that the cost of
7     the IMMULITE Assay is less than Thyretain. As a result, Defendants improperly
8     benefit from the false/misleading advertising of the IMMULITE Assay by selling the
9     IMMULITE Assay for less than Thyretain, thereby promoting the ability of customers
10    to capture more of the difference between Medicare reimbursement for a true TSI only
11    assay (Thyretain) and the cost of the IMMULITE Assay (not a true TSI only assay),
12    which is less than Thyretain.
13          19.    In response to concerns raised by Plaintiff about Defendant's marketing of
14    the IMMULITE Assay as detecting TSI only, Defendant agreed to remove the term
15    "only" from various marketing statements. Despite the agreement to modify its
16    marketing statements, Defendant has continued to describe the IMMULITE Assay in a
17    false and misleading manner, representing, among other things, the following:
18                 A. "The IMMULITE 2000/2000 XPi TSI assay detects thyroid
19                    stimulating antibodies, the specific cause of Graves' Disease
20                    pathology, with 98.6% sensitivity and 98.5% specificity."
21                 B. "The IMMULITE® 2000/2000 XPi TSI assay is the first automated
22                    and semiquantitative TSI assay available today. TSH receptor
23                    antibody (TRAb) assays detect both thyroid-blocking and -stimulating
24                    antibodies. However, blocking antibodies inhibit TSH stimulation of
25                    thyroid cells and lead to hypothyroidism. The IMMULITE 2000/2000
26                    XPi TSI assay detects thyroid stimulating antibodies, the specific
27                    cause of GD pathology, with 98.5% specificity."
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1           These statements continue to misleadingly imply that the IMMULITE Assay
2     detects TSI only. In addition, Defendant continues to describe the IMMULITE Assay
3     as a "TSI assay," which is inconsistent with scientific findings that the IMMULITE
4     Assay detects both blocking and stimulating antibodies, not TSI only.
5                                   FIRST CAUSE OF ACTION
6                  (For Lanham Act False Advertising Against All Defendants)
7           20.    Plaintiff realleges and incorporates herein by reference each and every
8     allegation contained in paragraphs 1 through 19, above, as if fully set forth herein.
9           21.    Defendants have made and distributed in interstate commerce in this
10    District advertisements and marketing materials that contain false and misleading
11    statements of fact regarding the IMMULITE Assay. These advertisements and
12    marketing materials contain actual misstatements and/or misleading statements or
13    failures to disclose. Specifically the statements (1) that the IMMULITE Assay detects
14    TSI only and (2) that the IMMULITE Assay is a "TSI assay" that detects TSI only,
15    while failing to disclose that the IMMULITE Assay also detects thyroid-blocking
16    antibodies, are false and/or misleading.
17          22.    These statements actually deceive, or have a tendency to deceive, a
18    substantial segment of Defendants' customers and potential customers. This deception
19    is material in that it concerns the inherent quality, characteristics and efficacy of the
20    IMMULITE Assay and is likely to influence the purchasing decisions of Defendants'
21    customers.
22          23.    Defendants' false and misleading advertising statements and omissions
23    injure both consumers and Plaintiff.
24          24.    Defendants' false and misleading advertising statements and omissions
25    violate Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).
26          25.    Defendants have caused and will continue to cause, immediate and
27    irreparable injury to Plaintiff, including injury to Plaintiff's business, reputation and
28    goodwill, for which there is no adequate remedy at law. Plaintiff is therefore entitled

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1     to an injunction under 15 U.S.C. § 1116 restraining Defendants, their agents,
2     employees, representatives and all persons acting in concert with Defendants from
3     engaging in future acts of false and/or misleading advertising and ordering removal of
4     all of Defendants' false and/or misleading advertisements and marketing statements.
5           26.     Pursuant to 15 U.S.C. § 1117, Plaintiff is further entitled to recover from
6     Defendants the damages sustained by Plaintiff as a result of Defendants' acts in
7     violation of 15 U.S.C. § 1125(a). Plaintiff is at present unable to ascertain the full
8     extent of the monetary damages it has sustained by reason of Defendants' acts.
9           27.     Pursuant to 15 U.S.C. § 1117, Plaintiff is further entitled to recover from
10    Defendants the gains, profits and advantages that Defendants have obtained as a result
11    of Defendants' acts in violation of 15 U.S.C. § 1125(a). Plaintiff is at present unable to
12    ascertain the full extent of the gains, profits and advantages Defendants have obtained
13    by reason of Defendants' acts.
14          28.     Pursuant to 15 U.S.C. § 1117, Plaintiff is further entitled to recover the
15    costs of this action. Moreover, Plaintiff is informed and believes, and on that basis
16    alleges, that Defendants' conduct was undertaken willfully and with the intention of
17    causing confusion, mistake or deception, making this an exceptional case entitling
18    Plaintiff to recover additional damages and reasonable attorneys' fees.
19                                   SECOND CAUSE OF ACTION
20             (Statutory Unfair Competition and False Advertising Under California
21                Business and Professions Code §§ 17200 and 17500 et seq., Against All
22                                              Defendants)
23          29.     Plaintiff realleges and incorporates herein by reference each and every
24    allegation contained in paragraphs 1 through 28, above, as if fully set forth herein.
25          30.     Defendants' actions described above, including Defendants' false and
26    misleading advertising/marketing of the IMMULITE Assay as a TSI assay and as
27    detecting TSI only, constitute false advertising and unfair competition in violation of
28    the laws of the State of California.

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1           31.    By their actions, Defendants have engaged in false advertising and unfair
2     competition in violation of the statutory law of the state of California, Cal. Bus. &
3     Prof. Code §§ 17200 and 17500, et seq., and, as a result Plaintiff has suffered and will
4     continue to suffer damages to its business, reputation, and goodwill.
5           32.    As a direct and proximate result of Defendants' willful and intentional
6     actions, Plaintiff has suffered damages in an amount to be determined at trial and,
7     unless Defendants are restrained, Plaintiff will continue to suffer irreparable damage.
8                                  THIRD CAUSE OF ACTION
9           (For International Interference With Prospective Economic Advantage
10                                    Against All Defendants)
11          33.    Plaintiff realleges and incorporates herein by reference each and every
12    allegation contained in paragraphs 1 through 32, above, as if fully set forth herein.
13          34.    Plaintiff alleges on information and belief that Defendants, willfully and
14    deliberately committed the wrongful acts alleged herein with the intent to harm
15    Plaintiff financially and to induce Plaintiff's existing customers and prospective
16    customers to sever their present and prospective business relationships with Plaintiff or
17    reduce their purchases of Plaintiff’s products.
18          35.    As a proximate result of such wrongful acts, Plaintiff has suffered injury
19    and damage to its business and goodwill in an amount to conform to proof at trial.
20                               FOURTH CAUSE OF ACTION
21            (For Negligent Interference with Prospective Economic Advantage)
22          36.    Plaintiff realleges and incorporates herein by reference each and every
23    allegation contained in paragraphs 1 through 35, above, as if fully set forth herein.
24          37.    Plaintiff is informed and believes, and on that basis alleges, that as a
25    direct competitor to Plaintiff, Defendants knew or should have known that their false
26    and misleading advertising/marketing of the IMMULITE Assay would have a direct
27    effect on Plaintiff's Thyretain business.
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1           38.    The adverse effect on Plaintiff's business was foreseeable and Plaintiff's
2     Thyretain business has been adversely impacted as a result.
3           39.    Plaintiff is informed and believes, and on that basis alleges, that
4     Defendants' false and misleading advertising/marketing of the IMMULITE Assay is a
5     direct cause of the adverse impact on Plaintiff's Thyretain business.
6           40.    Defendants' conduct was willful and knowing considering that Defendants
7     continued to falsely and misleadingly advertise/market the IMMULITE Assay after
8     Plaintiff informed Defendants of the problems with doing so.
9           41.    Public policy supports a duty of care on the part of Defendants because
10    the failure or refusal of Defendants to correct the false and misleading
11    advertising/marketing of the IMMULITE Assay will result in customer’s misuse of the
12    IMMULITE Assay and the misdiagnosis and mistreatment of patients. In addition, as
13    explained above, the false/misleading advertising is likely to lead to Medicare coding
14    and billing errors, resulting in improper reimbursements.
15          42.    By engaging in the wrongful conduct described herein, Defendants
16    negligently failed to take ordinary precautions to avoid interfering with Plaintiff's
17    prospective business opportunities and to avoid causing Plaintiff injury as a result.
18    Defendants have thus breached their duty of care owed to Plaintiff.
19          43.    As a proximate result of Defendants' breach of duty owed to Plaintiff,
20    Plaintiff has suffered injury and damage to its business and goodwill in an amount to
21    confirm to proof at trial.
22    ///
23    ///
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1                                             PRAYER
2          WHEREFORE, Plaintiff requests the following relief:
3          1.     For temporary, preliminary and permanent injunctive relief prohibiting
4    Defendants, their agents, or anyone working for, in concert with or on behalf of
5    Defendants from engaging in false or misleading advertising with respect to the
6    IMMULITE Assay and/or violating Section 43(a) of the Lanham Act and/or
7    California's unfair competition laws, which relief includes but is not limited to removal
8    of all false or misleading advertisements/marketing and corrective advertising to
9    remedy the effects of Defendants' false advertising/marketing;
10         2.     For an order requiring Defendants to correct any erroneous impression
11   persons may have derived concerning the nature, characteristic, qualities and/or
12   efficacy of the IMMULITE Assay, including without limitation the placement of
13   corrective advertising and providing written notice to the public;
14         3.     That Defendants be adjudged to have violated 15 U.S.C. § 1125(a) by
15   unfairly competing against Plaintiff by using false, deceptive or misleading statements
16   of fact that misrepresent the nature, quality, characteristics and/or efficacy of the
17   IMMULITE Assay;
18         4.     That Defendants be adjudged to have violated California's unfair
19   competition laws, including Cal. Bus. & Prof. Code §§ 17200 and 17500 by engaging
20   in deceptive trade practices and injuring Plaintiff by using deceptive representations in
21   connection with its goods or services;
22         5.     That Plaintiff be awarded general, special, actual and/or statutory
23   damages, according to proof at trial;
24         6.     That Plaintiff be awarded Defendants' profits obtained by Defendants as a
25   consequence of their conduct;
26         7.     That Plaintiff recover it costs and attorneys fees;
27         8.     That all of Defendants' misleading and deceptive materials be removed
28   and destroyed pursuant to 15 U.S.C. § 1118;

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1         9.    That Plaintiff be granted pre-judgment and post-judgment interest;
2         10.   That Plaintiff be awarded punitive and exemplary damages; and
3         11.   For such other and further relief as the Court may deem just and proper.
4    DATED: December 19, 2016            FINLAYSON TOFFER
                                         ROOSEVELT & LILLY LLP
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                                         Attorneys for Plaintiff QUIDEL
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